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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

FURIE OPERATING ALASKA, LLC, et al.,1 Case No. 19-11781 (___)

                            Debtors.                    (Joint Administration Requested)


            DECLARATION OF SCOTT M. PINSONNAULT IN SUPPORT OF
         THE DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS

         I, Scott M. Pinsonnault, hereby declare under penalty of perjury, pursuant to section 1746

of title 28 of the United States Code, as follows:

         1.        I am the Interim Chief Operating Officer of Furie Operating Alaska, LLC (“FOA”

and, collectively, with each of its affiliates that are debtors and debtors in possession in these

chapter 11 cases, the “Debtors”). In addition to my role as Interim Chief Operating Officer of

the Debtors, I am and have been a Senior Managing Director at Ankura Consulting Group, LLC

(“Ankura”), a business advisory and expert services firm whose professionals have significant

experience providing bankruptcy crisis management, consulting and financial advisory services.

At Ankura, I focus primarily on restructuring in the energy sector. My past experiences include

leading the energy restructuring and advisory practices for two national consulting firms, serving

as the chief restructuring officer for multiple oil and gas companies, and acting as the advisor to

numerous companies in the energy sector in connection with various restructuring transactions.

         2.        On March 23, 2018, the Debtors retained Ankura to assist them with interim

management and financial advisory services. At that time, I was appointed as Interim Chief



1
  The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Furie
Operating Alaska, LLC (8721); Cornucopia Oil & Gas Company, LLC (9914); and Corsair Oil & Gas LLC (8012).
The location of the Debtors’ corporate headquarters and the service address for all Debtors is 188 W. Northern
Lights Blvd. Suite 620, Anchorage, Alaska 99503.



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Operating Officer and oversaw the Ankura team engaged by the Debtors. In that role, I have

become familiar with the Debtors’ day-to-day operations, businesses, and financial affairs.

          3.       On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief (collectively, the “Petitions”) under chapter 11 of title 11 of the United States

Code (the “Bankruptcy Code”), with the United States Bankruptcy Court for the District of

Delaware (the “Court”), and filed the motions described herein requesting certain relief (the

“First Day Pleadings”). I submit this declaration on behalf of the Debtors in support of the

Petitions and the First Day Pleadings.

          4.       The Debtors are operating their businesses and managing their properties as

debtors        in possession     pursuant   to   Bankruptcy Code   sections   1107(a)   and    1108.

Contemporaneous with the filing of this declaration, the Debtors have requested procedural

consolidation and joint administration of the above-captioned chapter 11 cases (these

“Chapter 11 Cases”).

          5.       The First Day Pleadings seek, among other things, to meet the Debtors’ goals of:

(a) continuing their operations as debtors in possession with as little disruption and loss of

productivity as possible; (b) maintaining the confidence and support of the Debtors’ employees,

customers, vendors, and other key constituencies during these Chapter 11 Cases; and (c)

establishing procedures for the smooth and efficient administration of these Chapter 11 Cases.

Gaining and maintaining the support of the Debtors’ employees, customers, vendors, and other

key constituencies, as well as maintaining the day-to-day operations of the Debtors’ business

with minimal disruption, will be critical to a successful sale or restructuring in these Chapter 11

Cases.




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         6.        Except as otherwise indicated herein, all of the facts set forth in this declaration

are based upon my personal knowledge, information supplied to me by other members of the

Debtors’ management or professionals, information learned from my review of the relevant

documents, or my experience and knowledge of the Debtors’ operations and financial condition

and the oil and gas industry, generally. If called as a witness, I could and would testify to the

facts set forth in this declaration. I am authorized to submit this declaration on behalf of the

Debtors.

         7.        Parts I through III of this declaration describe the Debtors’ business operations,

organizational structure, and capital structure. Part IV of this declaration describes the events

leading to these Chapter 11 Cases. Part V of this declaration briefly summarized the Debtors’

proposed timeline for these Chapter 11 Cases. Finally, Part VI of this declaration sets forth the

relevant facts in support of the First Day Pleadings.

I.       BACKGROUND AND BUSINESS OPERATIONS

         8.        The Debtors, which are headquartered in Anchorage Alaska, operate as an

independent energy company primarily focused on the acquisition, exploration, production, and

development of offshore oil and gas properties in the State of Alaska’s Cook Inlet region (the

“Cook Inlet”).

         9.       The Debtors hold a majority working interest in thirty five (35) competitive oil and

gas leases in the Cook Inlet (the “Oil and Gas Leases”). Additionally, the Debtors wholly own

and operate an offshore production platform in the middle of the Cook Inlet to extract natural gas

under the Oil and Gas Leases. This facility, comprised of three decks, can accommodate a total

of six wells and a production crew of up to 28 workers. As of the Petition Date, the Debtors are

operating four wells on the production platform. The production platform is connected to a



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subsea pipeline that delivers natural gas directly to the Debtors’ onshore processing facility. The

pipeline rests on the bottom of the Cook Inlet and exits through a directionally drilled bore in the

coastal bluff before connecting to the Debtors’ 10-acre natural gas processing facility.

         10.       In the year ended December 31, 2017, the Debtors had net gas sales of

approximately $25.4 million and a net loss of approximately $58.5 million. In the year ended

December 31, 2018, the Debtors had net gas sales of approximately $42.8 million and a net loss

of approximately $151.8 million. For the first quarter of 2019, the Debtors had net gas sales of

approximately $7.9 million and a net loss of approximately $21.4 million.

II.      ORGANIZATIONAL STRUCTURE

         11.       The Debtors were founded in 1999 as a Texas limited liability company under the

name Escopeta Oil Company, LLC (“Escopeta”). Escopeta formally changed its name to Furie

Operating Alaska, LLC (referred to herein as FOA) on September 21, 2011, and converted from

a Texas limited liability company to a Delaware limited liability company on January 25, 2018.

Under the Escopeta name, the Debtors acquired their first oil and gas leases in 1999 for mineral

extraction rights from acreage in the Cook Inlet. During the 2000s, Escopeta acquired additional

oil and gas leases in the Cook Inlet, including leases from other independent oil and gas

companies. Escopeta’s consolidated oil and gas leases became known as the “Kitchen Unit”

production area. In 2009, the State of Alaska approved the expansion of the Kitchen Unit,

incorporating two additional exploration units. This consolidated production area is known

today as the “Kitchen Lights Unit,” the largest, contiguous exploration and production area in the

Cook Inlet. The Debtors’ Oil and Gas Leases are subject to the Kitchen Lights Unit Operating

Agreement, dated as of October 21, 2010, by and among FOA (as successor-in-interest to




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Escopeta), Cornucopia Oil & Gas Company, LLC (through its predecessor-in-interest), and other

parties thereto (the “Kitchen Lights JOA”).

         12.       Cornucopia Oil & Gas Company, LLC, a Delaware limited liability company

(“Cornucopia”), is a holding company with no business operations other than through the

collection of income earned as a working interest holder under the Oil and Gas Leases. In 2011,

Cornucopia acquired Escopeta, which, as described above, subsequently changed its name to

Furie Operating Alaska, LLC. In December 2011, Deutsche Oel & Gas AG (n/k/a Brutus AG)

(the “Sponsor”) was formed as a management holding company of Cornucopia. As of the

Petition Date, 100% of Cornucopia’s outstanding equity interests are held by the Sponsor. The

Debtors operate their acquisition, exploration, production, and development activities primarily

through FOA, which is a wholly-owned subsidiary of Cornucopia. FOA is the operator of the

Debtors’ Oil and Gas Leases under the Kitchen Lights JOA and holds a minority working

interest in such leases.

         13.       Corsair Oil & Gas LLC, a Delaware limited liability company (“Corsair”), is an

affiliate of Cornucopia and FOA that holds a minority working interest in the Oil & Gas Leases.

Prior to October 20, 2014, Corsair was a wholly-owned subsidiary of Cornucopia. On October

20, 2014, Cornucopia distributed and transferred its equity interests in Corsair to the Sponsor,

and, as of the Petition Date, the Sponsor owns 100% of Corsair’s outstanding equity interests.

         14.       The organizational chart attached hereto as Exhibit A illustrates the foregoing.

III.     CAPITAL STRUCTURE

         15.       As of the Petition Date, the Debtors’ primary liabilities consist of Term Loan

Obligations (as defined below) and Tax Credit Loan Obligations (as defined below). The

Debtors were generally paying undisputed trade creditors on a current basis prior to the filing.



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As such the Debtors believe they have a limited amount of trade debt and royalty obligations that

remain outstanding.

         16.       On July 15, 2014, FOA and Cornucopia (collectively, the “Borrowers”) entered

into that certain Credit Agreement (the “Original Term Loan Credit Agreement”), dated as of

that date, among the Borrowers, various lenders party thereto (the “Term Loan Lenders”), and

Energy Capital Partners Mezzanine Opportunities Fund A, LP, as administrative and collateral

agent on behalf of the Term Loan Lenders (“Term Loan Administrative Agent” and, together

with the Term Loan Lenders, the “Term Loan Secured Parties”). The Original Term Loan Credit

Agreement was subsequently amended pursuant to that certain First Amended and Restated

Credit Agreement, dated March 19, 2015, and that certain Second Amended and Restated Credit

Agreement, dated April 12, 2018 (as subsequently amended on June 29, 2018 and October 10,

2018 and as may be further amended from time to time, the “Term Loan Credit Agreement” and,

collectively with all agreements, documents, notes (including in respect of the Tranche A Loans,

Tranche B Loans, and Tranche C Loans, each defined in the Term Loan Credit Agreement),

letters of credit (including the Letters of Credit, as defined in the Term Loan Credit Agreement),

mortgages, security agreements, pledges, guarantees, subordination agreements, deeds, account

agreements, instruments, indemnities, indemnity letters, working fee letters, side letter

agreements, assignments, charges, amendments, and any other agreements delivered pursuant

thereto or in connection therewith, the “Term Loan Documents”).

         17.       As of the Petition Date, the Term Loan Lenders are (i) Energy Capital Partners

Mezzanine Opportunities Fund A, LP, a Delaware limited partnership, (ii) Energy Capital

Partners Mezzanine Opportunities Fund, LP, a Delaware limited partnership, (iii) Energy Capital

Partners Mezzanine Opportunities Fund B, LP, a Delaware limited partnership, (iv) Energy



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Capital Partners Mezzanine (Alaska Midstream Co-Invest), LP, a Delaware limited partnership,

(v) Energy Capital Partners Mezzanine (Alaska Midstream Co-Invest) II, LP, a Delaware limited

partnership (such Term Loan Lenders listed in (i) through (v), collectively, the “ECP Lenders”),

(vi) Melody Capital Partners FDB Credit Fund, L.P., (vii) Melody Capital Partners Onshore

Credit Fund, L.P., (viii) Melody Capital Partners Offshore Credit Mini-Master Fund, L.P., and

(ix) Melody Special Situations Offshore Credit Mini-Master Fund, L.P. (such Term Loan

Lenders listed in (vi) through (ix), collectively, the “Melody Lenders”).

         18.       Pursuant to the Term Loan Credit Agreement, the Term Loan Lenders agreed to

extend to the Borrowers term loans in the aggregate principal amount of approximately

$244,500,000 (the “Term Loan Credit Facility”).

         19.       The Term Loan Credit Facility is secured by a first priority lien over substantially

all of the assets of the Borrowers, including, without limitation, the Borrowers’ (i) real property,

(ii) accounts receivable, (iii) inventory, and (iv) cash collateral, and a second priority lien over

the Tax Credit Priority Collateral (as defined below), all as set forth in greater detail in the Term

Loan Documents. Pursuant to the Term Loan Documents, the Sponsor pledged its equity

interests in Cornucopia and Corsair to the Term Loan Administrative Agent as additional

collateral securing the Term Loan Credit Facility.

         20.       As of the Petition Date, the aggregate amount outstanding under the Term Loan

Credit Facility is approximately $368,100,000.00 (the “Term Loan Obligations”).

         21.       On July 30, 2015, the Borrowers entered into that certain Credit Agreement (as

amended from time to time, the “Tax Credit Agreement” and, collectively with all agreements,

documents, notes, mortgages, security agreements, pledges, guarantees, subordination

agreements, deeds, instruments, indemnities, indemnity letters, working fee letters, assignments,



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charges, amendments, and any other agreements delivered pursuant thereto or in connection

therewith, the “Tax Credit Documents,” and together with the Term Loan Documents, the

“Prepetition Loan Documents”), dated as of that date, among the Borrowers, various lenders

party thereto (the “Tax Credit Lenders”), and ING Capital, LLC, as administrative and collateral

agent on behalf of the Tax Credit Lenders (the “Tax Credit Administrative Agent” and, together

with the Tax Credit Lenders, the “Tax Credit Secured Parties”). 2 As of the Petition Date, the

sole Tax Credit Lender is ING Capital, LLC.

         22.       Pursuant to the Tax Credit Agreement, the Tax Credit Lenders agreed to extend to

the Borrowers term loans in the aggregate principal amount of $135,000,000 (the “Tax Credit

Facility” and, together with the Term Loan Credit Facility, the “Prepetition Credit Facilities”).

         23.       The Tax Credit Facility is secured by a first priority lien over the Tax Credit

Priority Collateral, as defined in the Intercreditor Agreement, dated July 30, 2015, between the

Term Loan Administrative Agent and the Tax Credit Administrative Agent and acknowledged

by the Borrowers (as amended, restated, supplemented, or otherwise modified, the “Prepetition

Intercreditor Agreement”), all as set forth in greater detail in the Tax Credit Documents.

         24.       As of the Petition Date, the aggregate principal amount outstanding under the Tax

Credit Loan Facility is approximately $74,609,233 (the “Tax Credit Obligations” and, together

with the Term Loan Obligations, the “Prepetition Secured Obligations”).

         25.       In addition to the Prepetition Secured Obligations, as of the Petition Date, the

Debtors estimate that they also have approximately $1,281,912.86 of prepetition royalty

obligations owed to certain Royalty Interest Holders (as defined below) relating to natural gas



2
  For purposes of this First Day Declaration, the Term Loan Secured Parties and the Tax Credit Secured Parties are
referred to collectively as the “Prepetition Secured Parties” and the Term Loan Administrative Agent and the Tax
Credit Administrative Agent are referred to collectively as the “Prepetition Agents”.


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produced in the ordinary course of the Debtors’ businesses and $8,218,945.30 of outstanding

unsecured debt, which is comprised mostly of professional services, trade debt, and litigation

claims.

IV.       EVENTS LEADING TO THESE CHAPTER 11 CASES

          26.      The Debtors’ operations, including their exploration, drilling and production

operations, are capital-intensive activities that require access to significant capital. Historically,

the Debtors’ primary source of liquidity to fund ongoing operations has been equity

contributions from the Sponsor, proceeds from borrowings under the Prepetition Credit

Facilities, and cash flow from the Debtors’ operations.

A.        Uncertainty Regarding the Debtors’ Production Tax Credits

          27.      The Debtors historically received tax credits from the state of Alaska for upstream

oil and gas exploration, development, and production costs incurred in the ordinary course of the

Debtors’ business. The state of Alaska maintained an oil and gas tax credit fund through which

Alaska repurchased tax credits for cash, subject to appropriation of funds from the state

legislature. During the Debtors’ initial years of operations, the state legislature appropriated

sufficient funds to meet 100% of the demand for purchase of tax credits. However, following a

drop in oil and gas prices, appropriations to the oil and gas tax credits fund waned. In 2016, the

governor vetoed a portion of funding, capping the amount at $500 million for the 2016 fiscal

year, and the Alaska legislature passed a bill that altered the tax credits available to upstream oil

and gas explorers by drastically reducing the credits for the 2017 tax year and removing the

credit program entirely effective as of January 1, 2018. In 2017, appropriations to the state oil

and gas credit fund dropped to just $30 million. As of the Petition Date, the Debtors hold

approximately $105 million in tax credits eligible to be repurchased by the state of Alaska.



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         28.       In 2018, the Alaska legislature authorized a $1 billion state bond initiative to

repurchase all outstanding tax credits. However, the bond initiative is being challenged in the

Alaska state court system, with the Alaska Supreme Court scheduled to rule sometime in 2019.

Given the pending legal challenge, the state has not moved forward with the repurchase program.

This has led to unprecedented uncertainty regarding the timing of payments associated with the

tax credit program, which has created issues with respect to the Debtors’ efforts to monetize one

of its largest assets and contributed to the Debtors’ financial difficulties.

B.       The Debtors’ Historical Operations and Financial Difficulties

         29.       Since 2016, the Debtors have breached numerous terms of the Term Loan Credit

Facility as a result of various construction delays and cost overruns. From 2016 to 2018, the

Debtors and the Term Loan Secured Parties entered into various forbearance agreements and

made several amendments to the Original Term Loan Credit Agreement in an attempt to reset the

terms of the Term Loan Credit Facility to those achievable based on the Debtors’ performance.

However, the Debtors were unable to meet the amended terms of the Original Term Loan Credit

Agreement, including the Debtors’ failure to make certain principal and interest payments as

such payments came due. As a result of these defaults, the Term Loan Administrative Agent

issued notices of foreclosure on the Debtors’ membership interests in March 2018.

         30.       In response to the March 2018 foreclosure notices, the Debtors, in consultation

with the Term Loan Secured Parties, engaged Ankura to assist the Debtors in establishing a

workable business plan, and I was appointed as Interim Chief Operating Officer. Thereafter, in

April 2018, the Debtors and the Term Loan Secured Parties entered into the Term Loan Credit

Agreement, which amended and restated the Original Term Loan Credit Agreement, and the

Term Loan Administrative Agent canceled the previously scheduled foreclosure sales. The Term



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Loan Credit Agreement also increased the amount available under the Term Loan Credit Facility

by $54.5 million, with such funds earmarked for approved drilling and workover expenditures.

C.       The Debtors’ Current Operational Issues and Financial Overleverage

         31.       Among other requirements, the Term Loan Credit Agreement required the

Debtors to meet certain production requirements, achieve project completion dates set for the

various capex projects approved by the Term Loan Secured Parties, comply with the terms and

conditions of the Debtors’ material gas sales agreements, and, beginning on January 1, 2019,

make cash interest payments on a go-forward basis.

         32.       The Debtors were unable to meet the foregoing requirements and breached the

Term Loan Credit Agreement. In 2018, the Debtors were unable to produce a sufficient volume

of natural gas to meet their contractual requirements with the Debtors’ material gas sales

agreements. Additionally, in early 2019, the Debtors lost the ability to deliver any natural gas

because an unexpected operational issue resulted in a blockage of the Debtors’ subsea pipeline.

The Debtors’ inability to meet contracted-to delivery requirements led to defaults and alleged

defaults under the Debtors’ material gas sales agreements.

         33.       Lastly, the Debtors’ historical construction delays and cost overruns required

additional borrowings under the Term Loan Credit Facility. The Debtors’ added debt expense of

these additional borrowings, when combined with the Debtors’ continued operational issues,

resulted in the Debtors becoming significantly over-levered. Although certain of the Prepetition

Term Loan Lenders have funded necessary capital expenditures historically, the Debtors’

overleverage has, nevertheless, impacted their ability to continue exploration and production

activities in the ordinary course of business and is a contributing factor to the filing of these

Chapter 11 Cases.



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V.       SUMMARY OF THE DEBTORS’ PROPOSED CHAPTER 11 TIMELINE

         34.       In April 2019, the Debtors’ board of directors interviewed various investment

bankers, including Seaport Global Securities LLC (“Seaport”), to run a traditional investment

banking marketing process. On June 5, 2019, the Debtors formally retained Seaport and, with

Seaport’s support, started the work necessary to run a successful sale process.

         35.       The Debtors, with the assistance of their advisors, explored various strategic

alternatives and ultimately determined that a sale of all or substantially all of their assets and/or

equity interests would maximize the value of their estates for the benefit of all stakeholders.

Consequently, the Debtors filed the Motion of Debtors for Entry of Orders (I)(A) Approving

Bidding Procedures for the Sale of the Debtors’ Assets, (B) Approving Stalking Horse Bid

Protections, (C) Schedule an Auction For, and Hearing to Approve, the Sale of the Debtors’

Assets, (D) Approving the Form and Manner of Notice Thereof, (E) Approving Contract

Assumption and Assignment Procedures and (F) Granting Related Relief and (II)(A) Approving

the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests and Encumbrances,

(B) Authorizing the Assumption and Assignment of Executory Contracts and Unexpired Leases

and (C) Granting Related Relief (the “Bidding Procedures and Sale Motion”) concurrently with

the filing of these Chapter 11 Cases.

         36.       The Bidding Procedures and Sale Motion outlines the salient terms of the

Debtors’ proposed bidding procedures (the “Bidding Procedures”), a copy of which is included

as Annex 1 to Exhibit A thereto. The Bidding Procedures are designed to promote a competitive

and efficient sale process. If approved, the Bidding Procedures will allow the Debtors to solicit

and identify bids from potential buyers that constitute the highest or otherwise best offer for the




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Debtors’ assets and/or equity interests on a schedule consistent with the deadlines under the

Bidding Procedures and the Debtors’ chapter 11 strategy.

          37.      I believe a prompt sale of the Debtors’ assets and/or equity interests represents the

best option available to maximize value for all stakeholders in these Chapter 11 Cases. The key

proposed dates under the Bidding Procedures are as follows: 3

    5:00 p.m. (prevailing Eastern Time) on                    Bidding Procedures and Bidding Protections
    August 29, 2019                                            Objection Deadline
    10:00 a.m. (prevailing Eastern Time) on                   Hearing to consider entry of the Bidding
    September 5, 2019                                          Procedures Order
    No later than thirty-five (35) calendar days              Deadline to Approve the Bidding Procedures
    after the Petition Date                                    Order
    Within five (5) Business Days after entry                 Deadline for Debtors to file Potential
    of the Bidding Procedures Order                            Assumption and Assignment Notice
    Not later than seven (7) calendar days                    Stalking Horse Objection Deadline (if
    after service of a Stalking Horse Approval                 any)
    Notice (if any)
    5:00 p.m. (prevailing Eastern Time) on                    Assumption and Assignment Objection
    October 2, 2019                                            Deadline
    5:00 p.m. (prevailing Eastern Time) on                    Bid Deadline
    October 4, 2019                                           Sale Objection Deadline
    10:00 a.m. (prevailing Eastern Time) on                   Auction (if necessary), to be held at the offices
    October 7, 2019                                            of McDermott Will & Emery LLP, 340
                                                               Madison Avenue, New York, New York 10173
    10:00 a.m. (prevailing Eastern Time) on                   Sale Hearing
    October 25, 2019
    The earlier of (i) 10:00 a.m. (prevailing                 Adequate Assurance Objection Deadline
    Eastern Time) on October 25, 2019 or (ii)
    5:00 p.m. (prevailing Eastern Time) on the
    day that is fourteen (14) days after service
    of the Notice of Auction Results
    Not later than one hundred fifty (150)                    Sale Closing
    calendar days after the Petition Date



3
  This summary is provided for the convenience of the Court and the parties in interest. To the extent that there is
any inconsistency between the terms of the Bidding Procedures and the summary of such terms in this Declaration,
the terms of the Bidding Procedures shall control. Capitalized terms used but not otherwise defined in this summary
shall have the meanings ascribed to such terms in the Bidding Procedures.


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         38.       As part of the proposed sale process, the Debtors, through Seaport and their other

professionals, will continue to engage in a robust marketing effort for the sale of their assets

and/or equity interests, which started well before the Petition Date, including contacting

identified financial and strategic buyers regarding a potential sale. All interested parties will be

given an opportunity to execute a confidentiality agreement and be given access to the data room

maintained by the Debtors. Those parties that execute a confidentiality agreement and are

deemed to be a Potential Bidder will be provided with access to the Debtors’ confidential

electronic data room concerning the Debtors’ assets and/or equity interests, including, without

limitation, presentations by the Debtors and their advisors, and access to financial, operational,

and other detailed information.

         39.       The Bidding Procedures are reasonable and designed with the objective of

generating the best value for the Debtors’ assets and/or equity interests, while affording the

Debtors maximum flexibility to execute the sale of the assets and/or equity interests in a quick

and efficient manner. The Debtors are confident that the Bidding Procedures and the other relief

requested in the Bidding Procedures and Sale Motion satisfy the requirements of Bankruptcy

Code section 363 and will facilitate the sale of the Debtors’ assets and/or equity interests for the

best value for the benefit of the Debtors and their stakeholders. I believe this timeline maximizes

the prospect of receiving an offer without unduly prejudicing the bankruptcy estates.

         40.       As part of its proposed financing, the DIP Secured Parties negotiated for the

timeline requested herein. The Debtors believe the proposed sale process will minimize any

further deterioration of their assets and is in the best interests of all stakeholders. Thus, the

Debtors have determined pursuing a sale in the manner and within the time periods prescribed in




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the Bidding Procedures is in the best interest of the Debtors’ estates and will provide interested

parties with sufficient opportunity to participate.

VI.      FACTS RELEVANT TO FIRST DAY PLEADINGS 4

         41.       Together with the filing of these Chapter 11 Cases, the Debtors filed certain First

Day Pleadings that request various types of relief. I have reviewed each First Day Pleading

(including the exhibits thereto) and, to the best of my knowledge, information and belief, the

facts recited therein with respect to the Debtors are true and correct and are hereby incorporated

by reference. I believe that the relief sought in each First Day Pleading is essential to the

Debtors’ ability to achieve a successful reorganization.

         i.        Debtors’ Motion for Entry of an Order Directing Joint Administration of Related
                   Chapter 11 Cases (the “Joint Administration Motion”)

         42.       In the Joint Administration Motion, the Debtors seek entry of an order directing

the joint administration of these Chapter 11 Cases and the consolidation thereof for procedural

purposes only. Many of the motions, applications, hearings, and orders that will arise in these

Chapter 11 Cases will affect most, if not all, of the Debtors jointly.

         43.       The Debtors further seek entry of an order directing the Clerk of the Court to

maintain one file and one docket for all of these Chapter 11 Cases under the case of Furie

Operating Alaska, LLC.

         44.       Joint administration of these Chapter 11 Cases will ease the administrative burden

on this Court and all parties in interest. Joint administration of these Chapter 11 Cases will not

prejudice creditors or other parties in interest because joint administration is purely procedural

and will not impact the parties’ substantive rights.



4
 Capitalized terms used but not defined herein have the meanings ascribed to such terms in the relevant First Day
Pleadings.


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         45.       I believe that the relief requested in the Joint Administration Motion is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest.

         ii.       Debtors’ Application for Appointment of Prime Clerk LLC as Claims and
                   Noticing Agent (the “Section 156(c) Application”)

         46.       The Section 156(c) Application is made pursuant to 28 U.S.C. § 156(c), section

105(a) of the Bankruptcy Code, and Local Rule 2002-1(f) for an order appointing Prime Clerk

LLC (the “Claims Agent”) as the claims and noticing agent in order to assume full responsibility

for the distribution of notices and the maintenance, processing, and docketing of proofs of claim

filed in the Debtors’ Chapter 11 Cases.

         47.       The Debtors’ selection of the Claims Agent to act as the claims and noticing agent

has satisfied the Court’s Protocol for the Employment of Claims and Noticing Agents under 28

U.S.C. § 156(c) in that the Debtors have obtained and reviewed engagement proposals from at

least two (2) other court-approved claims and noticing agents to ensure selection through a

competitive process. Moreover, the Debtors submit, based on all engagement proposals obtained

and reviewed, that the Claims Agent’s rates are competitive and reasonable given the Claims

Agent’s quality of services and expertise.

         48.       Although the Debtors have not yet filed their schedules of assets and liabilities,

they anticipate that there will be in excess of 200 entities to be noticed. In view of the number of

anticipated claimants and the complexity of the Debtors’ businesses, the Debtors submit that the

appointment of a claims and noticing agent is both necessary and in the best interests of the

Debtors’ estates and their creditors.

         49.       I believe that the relief requested in the Section 156(c) Application is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and will enable

the Debtors to continue to operate their business during the Chapter 11 Cases without disruption.


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         iii.      Debtors’ Motion for Interim and Final Orders Authorizing Debtors to
                   Continue Using Existing Bank Accounts, Business Forms, and Cash
                   Management System (the “Cash Management Motion”)

         50.       The Debtors use a centralized cash management system to collect funds from, and

to pay expenses incurred by, their operations (the “Cash Management System”). The Cash

Management System is illustrated in overview form in the chart attached as Exhibit B to the

Cash Management Motion. The Cash Management System includes fifteen (15) Debtor bank

accounts, a list of which is attached as Exhibit C to the Cash Management Motion (the “Bank

Accounts”). The Debtors’ Bank Accounts are held at Wells Fargo Bank, National Association

and Northrim Bank (collectively, the “Banks”).

         51.       The Cash Management System is integral to the operation and administration of

the Debtors’ businesses. In this regard, the Cash Management System allows the Debtors to

efficiently (a) collect outstanding receivables, (b) identify cash requirements, and (c) transfer

cash as needed to respond to these requirements.

         52.       The principal components of the Cash Management System and the flow of funds

through that system are as follows:

                (i)     Cash Collection and Concentration. The Debtors maintain one collection
                        account in the name of Cornucopia (the “Collection Account”). The Debtors
                        also maintain one construction account in the name of Cornucopia (the
                        “Construction Account”) and two operating accounts (the Operating
                        Accounts”), one in the name of Cornucopia and one in the name of FOA. All
                        the Debtors’ receipts are deposited in the Collection Account and ultimately
                        flow into the Operating Accounts, with certain amounts flowing through the
                        Construction Account prior to being transferred to the Operating Accounts.
                        The Debtors’ procedures for cash collections and concentration are described
                        in further detail below.
                         (1)     The Debtors’ collections are deposited into the Collection
                                 Account.
                         (2)     Each month, the amount of the Debtors’ collections attributable
                                 to Royalty Payments (as defined below) owed by the Debtors is
                                 transferred directly to FOA’s Operating Account to be paid to


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                                 Royalty Interest Holders as and when such Royalty Payments
                                 come due.
                          (3)    The remaining portion of the Debtors’ collections are
                                 transferred from the Collection Account to the Construction
                                 Account. Such proceeds are released from the Construction
                                 Account, with authorization from the Prepetition Term Loan
                                 Administrative Agent, and transferred to the Operating
                                 Accounts to fund day-to-day operations on an as-needed basis.
               (ii)      Disbursement Accounts. All payments used to fund the Debtors’
                         operations (including for payments made with debit cards, cashiers’
                         checks, and bank wires) are paid directly from the Operating
                         Accounts. To reserve for the Debtors’ prepetition obligations to the
                         United States Department of Justice pursuant to a settlement
                         agreement related to a pre-petition Jones Act claim, the Debtors
                         periodically transfer funds from the Construction Account to the
                         Litigation Reserve Account. Such funds are ultimately transferred to
                         the Debtors’ Operating Accounts before being used to pay annual
                         settlement payments.

         53.          The Debtors seek a waiver of the U.S. Trustee operating guidelines for debtors in

possession to the extent they require that the Debtors close the Bank Accounts and open new

postpetition bank accounts. If enforced in these Chapter 11 Cases, such requirements would

disrupt the Debtors’ businesses, causing delays in payments to vendors, suppliers,

subcontractors, administrative creditors, employees, and others, thereby impeding the Debtors’

efforts to maximize the value of their estates.

         54.          The Debtors request the authority to continue to use the Bank Accounts with the

same account numbers, styles, and business forms as the Debtors used prepetition. The Debtors

also seek authority to open new accounts whenever needed, provided that the Debtors give the

U.S. Trustee and the Prepetition Secured Parties adequate notice of such newly-opened accounts.

The Debtors represent that if the relief requested in this Motion is granted, they will not pay, and

will direct each of the Banks not to pay, any debts incurred before the Petition Date, other than as

authorized by this Court.



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         55.       In connection with continuing the use of the Bank Accounts, the Debtors request

the authority to pay prepetition account-related Bank fees and charges to the extent of the

amount of the Debtors’ cash held by such Bank.             The Debtors seek authority to pay the

prepetition account-related Bank fees and charges to the extent the Debtors determine, in their

good faith business judgment, that the Banks have valid setoff claims pursuant to section 553 of

the Bankruptcy Code (but only to the extent of such claims). This will save the Debtors the time

and expense of responding to such lift stay requests and/or negotiating stipulated orders to allow

the Banks to exercise setoff rights. The Debtors further submit that such relief requested would

not prejudice the interests of any other creditors or other parties-in-interest.

         56.       The Debtors should be granted further relief from the U.S. Trustee operating

guidelines to the extent that they require the Debtors to make all disbursements by check.

Preventing the Debtors from conducting transactions by debit, wire, and other similar methods

would unnecessarily disrupt the Debtors’ business operations and create additional and

unnecessary costs.

         57.       Compelling the Debtors to adopt a new cash management system would be

expensive and create unnecessary administrative problems, impeding the Debtors’ ability to

reorganize. Consequently, the Debtors’ ability to continue using its Cash Management System is

essential and is in the best interests of the Debtors, their estates, and their stakeholders.

         58.       To minimize expenses to their estates, the Debtors also request authorization to

continue using all correspondence and business forms (including, but not limited to, letterheads,

purchase orders, invoices, multi-copy checks, envelopes, promotional materials, and check stock

(collectively, the “Business Forms”)) existing immediately prior to the Petition Date without

reference to the Debtors’ status as debtors in possession.



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         59.       The Debtors seek the further authority to, as needed, re-order new Business Forms

without such legends during these Chapter 11 Cases because changing Business Forms in the

middle of these Chapter 11 Cases would be needlessly expensive and burdensome to the

Debtors’ estates and disruptive to their business operations. Parties doing business with the

Debtors undoubtedly will be aware of the Debtors’ status as debtors in possession due to the

Debtors providing notice of the commencement of these Chapter 11 Cases and information

circulating within the Debtors’ industry. Accordingly, adding the required legend would have

little practical effect and is inappropriate under the circumstances.

         60.       Requiring the Debtors to strictly comply with the requirements of section 345(b)

of the Bankruptcy Code would be inconsistent with section 345(a) of the Bankruptcy Code,

which permits a debtor in possession to make such investments of money of the estate “as will

yield the maximum reasonable net return on such money.” The Debtors believe that any funds

held in the Bank Accounts in excess of the amounts insured by the FDIC are secure, and

obtaining bonds to immediately secure these funds, as required by section 345(b) of the

Bankruptcy Code, is unnecessary in light of the facts and circumstances of these Chapter 11

Cases. Only four of the Bank Accounts regularly exceed FDIC insurance limits, and such Banks

are highly rated and subject to supervision by banking regulators.

         61.       I believe that the relief requested in the Cash Management Motion is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and will enable

the Debtors to continue to operate their business during the Chapter 11 Cases without disruption.




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          iv.      Debtors’ Motion for Entry of Interim and Final Orders Authorizing
                   Payment of Certain Prepetition Employee Wages, Benefits, and Related
                   Items (the “Employee Wage Motion”)

          62.      To minimize the personal hardships the Debtors’ employees (the “Employees”)

and independent contractors (the “Contractors”) 5 will suffer if prepetition employment-related

obligations are not paid when due or as expected, as well as to maintain morale during this

critical time, the Debtors seek entry of an order authorizing, but not directing, the Debtors to pay:

(i) all prepetition wages, salaries, and other accrued compensation to employees and independent

contractors; (ii) all reimbursable prepetition business expenses; (iii) all payments for which

prepetition payroll deductions, withholdings or matching employer contributions were made; (iv)

all contributions to prepetition employee benefit programs (and authorization to continue such

programs in the ordinary course of business); (v) all vacation and other paid leave benefits in the

ordinary course of business; (vi) all workers’ compensation program obligations; and (vii) all

processing costs and administrative expenses relating to the foregoing payments and

contributions, including any payments to third-party administrators or other administrative

service providers.

          63.      To assist in implementing the relief requested, the Debtors further request that,

subject to the Cash Management Motion and related orders, the Court authorize their banks and

other financial institutions to receive, honor, process and pay, at the Debtors’ request and to the

extent of funds on deposit: (i) prepetition payroll checks or electronic transfers and (ii) all other

checks or electronic transfers issued for payments approved by this Motion, regardless of

whether such checks or electronic transfers were drawn or issued prior to the Petition Date. The




5
    FOA employs 7 Employees and Contractors. Cornucopia and Corsair do not have any Employees and Contractors.


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Debtors also seek authorization to reissue prepetition checks or electronic transfers for payments

approved by this Motion that are dishonored notwithstanding the foregoing direction.

A.       Wages, Salaries, and Other Compensation

         64.       The Debtors have seven Employees and Contractors, including full-time, part-

time, and temporary Employees, and the average aggregate monthly compensation paid to such

Employees and Contractors for wages and salaries is approximately $70,405.82 exclusive of the

deductions and exclusions detailed below. Employees and Contractors are paid by the Debtors

on a bi-monthly schedule with Wells Fargo Business Payroll Services (“Payroll Processor”)

providing certain payroll management and administrative services related thereto. The Debtors’

payroll is funded through direct deposit and paper checks.

         65.       Due to the timing of these Chapter 11 Cases, some Employees and Contractors

have not received compensation for time worked prior to the Petition Date. Moreover, some

payroll checks issued to Employees and Contractors prior to the Petition Date may not have been

presented for payment or cleared the banking system prior to the Petition Date and, accordingly,

may not have been honored and paid as of the Petition Date.

         66.       The Debtors estimate that the aggregate amount of accrued prepetition wages,

salaries, overtime pay, and other cash compensation that remains unpaid to the Employees and

Contractors as of the Petition Date is approximately $80,429.36 (the “Unpaid Compensation”);

however, the Debtors only seek to pay up to $58,626.50 of the Unpaid Compensation at this

time.6     The Debtors have identified two Employees and Contractors whose prepetition

compensation and benefits claims exceed $13,650. For such Employees, the Debtors seek

authorization to pay Unpaid Compensation up to the $13,650 cap.

6
 The amounts the Debtors do not seek authority to pay at this time represent accrued PTO for Employees above the
$13,650 cap. The Debtors reserve the right to seek authority to pay such amounts under a separate motion.


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B.       Reimbursement of Prepetition Business Expenses

         67.       The Debtors frequently require Employees and Contractors to incur business

expenses in connection with sales efforts. In the ordinary course of business, the Debtors

reimburse Employees and Contractors for certain expenses incurred in the scope of their

employment on the Debtors’ behalf, for travel or other purposes (the “Reimbursable Expenses”).

The Reimbursable Expenses are generally incurred using personal credit cards for which

Employees and Contractors are solely liable. The Debtors estimate that, as of the Petition Date,

approximately $16,000 of Reimbursable Expenses will be unpaid.

         68.       In the Employee Wage Motion, the Debtors seek authorization, but not direction,

to honor and pay all Reimbursable Expenses as of the Petition Date, up to $16,000, and to

continue to pay all Reimbursable Expenses as they become due in the ordinary course of

business.

C.       Prepetition Deductions and Withholdings

         69.       During each applicable pay period, the Debtors routinely deduct certain amounts

from the paychecks of Employees (collectively, the “Deductions”), including, without limitation:

(i) garnishments for child support and similar deductions required by law; (ii) pre-tax

contributions to flexible health spending accounts; (iii) pre-tax contributions to health, dental,

and vision plans, and (iv) other pre-tax and after-tax deductions payable pursuant to certain

benefit plans discussed herein and other miscellaneous deductions.          The Deductions total

approximately $8,222.18 in the aggregate per month.

         70.       The Debtors also are required by law to (i) withhold from the wages of

Employees amounts related to, among other things, federal, state, and local income taxes, social

security, and Medicare taxes (collectively, the “Withheld Amounts”) for remittance to the



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appropriate taxing authorities and (ii) make correlated payments for social security and Medicare

taxes and pay additional amounts, based upon a percentage of gross payroll, for state and federal

unemployment insurance (together with the Withheld Amounts, the “Payroll Taxes”). In the

aggregate, the Debtors withhold and pay approximately $22,260.42 per month on account of

Payroll Taxes.

         71.       The Debtors estimate that, as of the Petition Date, approximately $12,974.13 in

Deductions and Payroll Taxes (collectively, “Withholding Obligations”) are outstanding with

respect to Unpaid Compensation.

         72.       In the Employee Wage Motion, the Debtors seek authorization, but not direction,

pursuant to the Order, to honor and pay all Withholding Obligations as they otherwise become

due in the ordinary course of business during these Chapter 11 Cases.

D.       Prepetition Employee Benefits

         73.       The Debtors also offer or provide eligible Employees (and their dependents) with

a variety of benefits. These benefits include, but are not limited to: (i) healthcare, dental, and

other related coverage; (ii) certain leave benefits; (iii) a 401(k) plan in which eligible Employees

can participate; (iv) COBRA medical coverage; (v) a flexible spending plan; and (vi) other

miscellaneous benefits described in the Employee Wage Motion (all such benefits, collectively,

the “Employee Benefits”). The Debtors believe that as of the Petition Date, there are no amounts

owed on account of prepetition Employee Benefits.

E.       Third-Party Administrative Costs

         74.       In the ordinary course of business, the Debtors utilize the services of numerous

third-party administrators to whom the Debtors outsource tasks associated with the payment of

compensation and benefits to Employees and Contractors, including (a) administering or



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assisting in the administration of the Debtors’ payroll processes, benefit plans, and workers’

compensation obligations; (b) facilitating the administration and maintenance of their books and

records; (c) assisting with legal compliance issues; and (d) conducting special administrative and

legal compliance projects in respect of Employee benefit plans and programs (the costs

associated therewith, the “Third-Party Administrative Costs” and, together with the

Reimbursable Expenses, Unpaid Compensation, and the Employee Benefits, the “Wages and

Benefits”). The ordinary course services provided by these third-parties ensure that the Debtors’

obligations with respect to Employees and Contractors continue to be administered in the most

cost-efficient manner and comply with all applicable laws.

         75.       Keeping the Debtors’ workforce intact is crucial to preserving the Debtors’ going

concern value. Without a compensated, intact, and motivated workforce, there would not likely

be significant interest in the Debtors’ assets in any sale process or reorganization.

         76.       It is essential that the Debtors continue to honor their Wages and Benefits

obligations to ensure the continued operation of the Debtors’ business and to maintain the morale

of the Employees and Contractors. Any depletion of the Debtors’ workforce would diminish the

Debtors’ prospects for a successful reorganization or sale.

         77.       The Deductions and Payroll Taxes principally represent the Employees’ earnings

that governments (in the case of taxes), Employees (in the case of voluntarily withheld amounts),

and judicial authorities (in the case of involuntarily withheld amounts) have designated for

deduction from the Employees’ paychecks. If the Debtors do not remit those amounts, the

Employees may face legal action and the Debtors may be burdened by inquiries and disputes

concerning their failure to submit legally required payments. Most, if not all, of the unremitted




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Deductions and Payroll Taxes constitute moneys held in trust and are not property of the

Debtors’ bankruptcy estates.

         78.       The Wages and Benefits represent a competitive but reasonably limited set of

policies and are necessary to retain the skilled and motivated workforce necessary to operate the

Debtors’ business.

         79.       Therefore, I believe that the relief requested in the Employee Wage Motion is

necessary and appropriate and is in the best interests of the Debtors’ estates, creditors, and other

parties in interest.

         v.        Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing
                   Payment of (I) Royalty Payments, (II) Operating Expenses, (III) Shipper
                   and Warehousemen Claims, (IV) Section 503(b)(9) Claims and
                   (V) Outstanding Orders; and (B) Granting Related Relief (the “Lease
                   Operating Expense Motion ”)

         80.       To maximize the value of the Debtors’ estates and minimize the disruption to the

Debtors’ businesses that will result from nonpayment of royalties and lease operating expenses,

the Debtors seek entry of interim and final orders (a) authorizing, but not directing, the Debtors

to pay in the ordinary course of business, whether such obligations were incurred prepetition or

will be incurred postpetition, the (i) Royalty Payments, (ii) Operating Expenses, (iii) Shipper and

Warehousemen Claims, (iv) 503(b)(9) Claims, and (v) Outstanding Orders (as each term is

defined in the Lease Operating Expense Motion), provided that each payment is made in

accordance with, and subject to, the Debtors’ Financing Motion and applicable DIP Order, and

(b) authorizing banks and other financial institutions to honor and process check and electronic

transfer requests related to the foregoing, subject to the Debtors’ Cash Management Motion and

related orders.




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A.       Royalty Payments

         81.       As outlined in greater detail in the Lease Operating Expense Motion, FOA is the

operator of the Debtors’ Oil and Gas Leases under the Kitchen Lights JOA. As operator, FOA is

obligated to make Royalty Payments before any proceeds from the sale of natural gas are used to

pay Operating Expenses or otherwise distributed to working interest holders. There are fourteen

Royalty Interest Holders (as defined in the Lease Operating Expense Motion) entitled to payment

from natural gas extracted under the Debtors’ Oil and Gas Leases. The State of Alaska’s

Department of Revenue is entitled to 12.5% of gross proceeds from natural gas sales. The

remaining thirteen Royalty Interest Holders are entitled to receive 12.499990% of such proceeds.

The remaining 75.00001% of gross proceeds from natural gas sales is available to cover

Operating Expenses and for distribution to Working Interest Holders (as defined in the Lease

Operating Expense Motion) such as the Debtors.

         82.       Failure to timely pay the Operating Expenses may result in the termination or

abandonment of the Debtors’ Oil and Gas Leases or their interests therein.

         83.       In the twelve months preceding the Petition Date, the Debtors paid Royalty

Interest Holders approximately $8.5 million in Royalty Payments.

         84.       As of the Petition Date, the Debtors estimate that they have approximately

$1,281,912.86 of Royalty Payments outstanding (the “Unpaid Royalties”), and, when such

Unpaid Royalties come due in the ordinary course of business, the Debtors will hold

approximately $1,281,912.86 in proceeds from natural gas sales for the payment of Unpaid

Royalties.

         85.       I understand that the failure to pay production royalties may constitute

abandonment of all rights acquired under the leasehold location or prospecting site involved



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under Alaska law. Nonpayment of royalties owed to Alaska’s Department of Revenue may also

jeopardize the Debtors’ Oil and Gas Leases, putting the Debtors’ assets at substantial risk.

Lastly, I understand that, if the Debtors do not pay and continue to pay amounts owed to Royalty

Interest Holders, the failure may create statutory liens, which would burden the Debtors’ assets

and could further diminish the value of those assets.

B.       LOE Obligations

         86.       If the LOE Contractors, Shippers, Warehousemen, or 503(b)(9) Claimants (as

each is defined in the Lease Operating Expense Motion) are unwilling to provide the Debtors

with materials and services postpetition because of their outstanding prepetition claims, the

Debtors’ operations would suffer, compromising the value of the Debtors’ estates to the

detriment of all parties in interest. A lack of drilling materials, vital transportation services, and

access to a limited universe of specialized service providers would grind the Debtors’

exploration and production activities to a halt. If the long-standing relationships established by

the Debtors with the parties that are owed these payments are harmed, whether through non-

payment or perceived difficulties of working with a chapter 11 debtor, the Debtors may be

unable to secure future opportunities with those parties and other third-parties may be unwilling

to engage in new business with the Debtors going forward. If that were to occur, the negative

impact on the Debtors’ businesses, their estates and creditors would be substantial, making

prospects for reorganization more elusive.

         87.       I understand that failure to timely pay Operating Expenses, Shipper and

Warehousemen Claims, and 503(b)(9) Claims (collectively, the “LOE Obligations”) related to

the Debtors’ Oil and Gas Leases may also provide grounds for removal of FOA as operator




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under the Kitchen Lights JOA and may result in perfection by LOE Contractors of liens on the

Debtors’ working interests in and proceeds from the Oil and Gas Leases.

         88.       As of the Petition Date, the Debtors estimate that they have approximately

$1,018,883.99 of Operating Expenses outstanding for services provided in connection with the

production of natural gas.         The Debtors estimate that they may also owe approximately

$1,624.30 in Shipper and Warehousemen Claims incurred in connection with the transportation

and storage of natural gas and the storage of equipment used in the ordinary course of business.

Lastly, the Debtors estimate that they may owe approximately $264,781.97 in 503(b)(9) claims

incurred in connection with goods used in the ordinary course of business and delivered within

20 days prior to the Petition Date.

         89.       To maintain access to materials, goods, equipment, and services that are critical to

the continued viability of the Debtors businesses, the Debtors seek authority to pay up to 50% of

all LOE Obligations on an interim basis and up to 100% of all LOE Obligations on a final basis.

The payment of such LOE Obligations will not only ensure the Debtors’ access to critical

materials, goods, equipment, and services, the Debtors will also avoid potential disputes and

diminution of the value of the Debtors’ estates as a result of statutory liens on account of unpaid

LOE Obligations.

C.       Outstanding Orders

         90.       Finally, the Debtors may have placed Outstanding Order for goods which will not

be delivered until after the Petition Date. To avoid becoming general unsecured creditors of the

Debtors’ estates with respect to such goods, certain suppliers may refuse to ship or transport such

goods (or may recall such shipments) with respect to such Outstanding Orders unless the Debtors

issue substitute purchase orders postpetition. To prevent any disruption to the Debtors’



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businesses, the Debtors seek an order (a) granting administrative expense priority under section

503(b) of the Bankruptcy Code to all undisputed obligations of the Debtors arising from the

postpetition acceptance of goods subject to Outstanding Orders and (b) authorizing the Debtors

to satisfy such obligations in the ordinary course of business.

         91.       I believe that failure to pay Unpaid Royalties and LOE Obligations could

materially jeopardize the Debtors’ production ability and reliability. Indeed, the failure to pay

Unpaid Royalties and LOE Obligations, or the disruption caused by the Debtors’ failure to pay

for Outstanding Orders, will likely result in a material diminution in the value of the Debtors’

property.

         92.       Therefore, I believe that the relief requested in the Lease Operating Expense

Motion is necessary and appropriate and is in the best interests of the Debtors’ estates, creditors,

and other parties in interest.

         vi.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                   Debtors to (A) Obtain Post-Petition Financing on a Super-Priority, Senior
                   Secured Basis and (B) Use Cash Collateral, (II) Granting Adequate
                   Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and
                   (V) Scheduling a Final Hearing (the “Financing Motion”)

         93.       In the Financing Motion, the Debtors seek an order (i) authorizing the Debtors to

(a) obtain post-petition financing on a super-priority, senior secured basis and (b) use Cash

Collateral (as defined below); (ii) granting adequate protection to the Prepetition Secured Parties

for the priming of the Prepetition Liens (as defined below) and the Debtors’ use of the Cash

Collateral; (iii) modifying the automatic stay; and (iv) scheduling a Final Hearing on the

Financing Motion.

         94.       The Debtors’ Prepetition Secured Obligations total approximately $440 million.

The Prepetition Secured Obligations are secured by liens on substantially all of the assets of the



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Debtors (the “Prepetition Liens”) pursuant to the Prepetition Loan Documents, subject to the

Prepetition Secured Parties’ respective rights under the Prepetition Intercreditor Agreement and

other agreements among lenders.

         95.       The Prepetition Secured Obligations are secured by liens on substantially all of

the Debtors’ assets, including the Debtors’ “cash collateral” (as defined in section 363(a) of the

Bankruptcy Code, the “Cash Collateral”).           Without access to the Cash Collateral and the

proposed secured debtor in possession financing facility (the “DIP Facility”) described herein

and in the Financing Motion, the Debtors will not have sufficient liquidity to operate their

business during these Chapter 11 Cases.            Indeed, without immediate access to the Cash

Collateral and the DIP Facility, the Debtors would face imminent shut-down and liquidation,

which would destroy millions of dollars of the Debtors’ value as a going concern and put the

Debtors’ Employees out of work.

         96.       In the Financing Motion, the Debtors request entry of interim and final order (the

“DIP Orders”) authorizing the Debtors to borrow under the DIP Facility—which consists of a

term loan in an aggregate principal amount of up to $15.0 million—pursuant to that certain

Debtor-in-Possession Credit Facility, in substantially the form set forth as Exhibit A to the

Financing Motion (the “DIP Credit Agreement” and, together with all agreements, documents,

certificates, and instruments including the Approved Budget (as defined herein), delivered or

executed from time to time in connection therewith, each as hereafter amended, restated,

amended and restated, supplemented, or otherwise modified from time to time in accordance

with the terms thereof and hereof, collectively, the “DIP Documents”), between the Debtors,

certain lenders party thereto (the “DIP Lenders”), and Energy Capital Partners Mezzanine

Opportunities Fund A, LP, as DIP Agent for the DIP Lenders (the “DIP Agent” and, together



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with the DIP Lenders, the “DIP Secured Parties”), on the terms set forth in the interim DIP Order

or final DIP Order, as applicable.

         97.           The following is a concise statement and summary of the proposed material terms

of the DIP Documents. Each of these terms is justified by the absence of alternative financing on

superior terms, and because the DIP Secured Parties insisted upon the inclusion of such terms as

a condition to extending the financing discussed herein.

                        (i)         Maturity: The DIP Facility matures on the earliest to occur of:
                              (1)      the Interim Facility Maturity Date (as defined in the DIP Credit
                                       Agreement), if the final DIP Order has not been entered on or prior to
                                       such date;
                              (2)      one hundred and eighty (180) calendar days after the Petition
                                       Date;
                              (3)      the consummation of a sale or other disposition of all or
                                       substantially all assets of the Debtors pursuant to section 363 of
                                       the Bankruptcy Code;
                              (4)      the substantial consummation (as defined in section 1101(2) of
                                       the Bankruptcy Code) of a plan of reorganization of the
                                       Debtors that has been confirmed by an order entered by the
                                       Bankruptcy Court;
                              (5)      the dismissal of any of these Chapter 11 Cases, the
                                       appointment of a chapter 11 trustee or any examiner with
                                       expanded powers, or the conversion of any of these Chapter 11
                                       Cases into a chapter 7 proceeding; and
                              (6)      the date of the acceleration of the DIP Loans (as defined in the
                                       interim DIP Order) after the occurrence of an Event of Default
                                       (as defined below) under the DIP Credit Agreement.
               (ii)       Interest Rate: 15.0% per annum.
               (iii)      Commitments:
                              (1)      Interim Borrowing Limit: The aggregate amount of DIP Loans
                                       shall not exceed $7,000,000 at any one time prior to the entry
                                       of the final order.
                              (2)      Final Borrowing Limit: $15,000,000 (less the amount already
                                       drawn pursuant to the Interim Borrowing Limit).
               (iv)       Events of Default: Along with customary events of default for a debtor
                          in possession financing facility, the DIP Credit Agreement includes an


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                        event of default upon Debtors’ failure to comply with certain
                        milestones with respect to the sale and marketing of a sale of
                        substantially all of the Debtors’ assets or confirmation of an approved
                        plan of reorganization, as applicable.
               (v)      Approved Budget: The DIP Credit Agreement and the interim DIP
                        Order impose restrictions on the Debtors’ operations by requiring the
                        Debtors to comply with a detailed budget (the “Approved Budget”),
                        subject to certain permitted variances.
              (vi)      DIP Liens: As security for the obligations under the DIP Credit
                        Agreement, the DIP Agent, for the benefit of the DIP Secured Parties,
                        will receive the following liens and claims (collectively, the “DIP
                        Liens”):
                         (1)     Priming senior security interest in and lien upon or pledge of
                                 (subject to the Carve-Out) all DIP Priority Collateral (as
                                 defined in the DIP Credit Agreement;
                         (2)     First priority senior security interest and lien upon or pledge of
                                 all unencumbered property and assets of the Debtors, including
                                 claims and causes of actions (“Avoidance Actions”) arising
                                 under sections 502(d), 544, 545, 547, 548, 549, 550, and 553 of
                                 the Bankruptcy Code; and
                         (3)     Second priority junior security interest and lien upon or pledge
                                 of all property and assets of the Debtors that are subject to
                                 valid Permitted Liens as of the Petition Date, including without
                                 limitation, the Prepetition Tax Credit Priority Collateral.
             (vii)      Adequate Protection for the Prepetition Secured Parties: As adequate
                        protection for any diminution in value of the Prepetition Liens, the
                        Prepetition Agents, for the benefit of the Prepetition Secured Parties,
                        will receive replacement security interests in and Liens upon all DIP
                        Collateral, including Avoidance Actions (the “Adequate Protection
                        Liens”), which shall be junior only to the Carve-Out, the DIP Facility,
                        and the Permitted Liens specifically designated as senior in priority
                        (including, without limitation, the Prepetition Tax Credit
                        Administrative Agent’s Liens on the Prepetition Tax Credit Priority
                        Collateral), and subject to the Prepetition Intercreditor Agreement.
            (viii)      Carve-Out: The DIP Facility, Prepetition Credit Facilities, the DIP
                        Superpriority Claims, and Adequate Protection Liens are subject to a
                        carve out (the “Carve-Out”) for:
                         (1)     Allowed administrative expenses pursuant to 28 U.S.C. § 1930
                                 for fees payable to the Office of the United States Trustee, as
                                 determined by agreement of the U.S. Trustee or by final order
                                 of this Court and 28 U.S.C. § 156(c) for fees required to be
                                 paid to the Clerk of this Court;


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                         (2)     All reasonable fees and expenses up to $50,000 incurred by a
                                 trustee under section 726(b) of the Bankruptcy Code;
                         (3)     All accrued and unpaid fees (other than any “success,”
                                 “restructuring,” “transaction” or similar fees), disbursements,
                                 costs and expenses, allowed at any time by this Court and
                                 incurred by professionals retained by the Debtors or the
                                 Creditors’ Committee (the “Case Professionals”), at any time
                                 prior to the delivery of the Carve-Out Trigger Notice; and
                         (4)     All accrued and unpaid fees, disbursements and expenses
                                 incurred by the Case Professionals from and after the date of
                                 service of a Carve-Out Trigger Notice (as defined below), to
                                 the extent allowed at any time, in an aggregate amount not to
                                 exceed $500,000 (the “Wind-Down Carve-Out Amount”).
              (ix)      Stipulations: The interim DIP Order contains stipulations related to the
                        Prepetition Credit Facilities by the Debtors, on behalf of all parties and
                        entities, including stipulations that:
                         (1)     As of the Petition Date, the Debtors were indebted and liable to
                                 the Prepetition Secured Parties under the Prepetition Credit
                                 Facilities.
                         (2)     The Debtors have represented that the Prepetition Secured
                                 Obligations (i) constitute legal, valid, and binding obligations
                                 of the Debtors, enforceable in accordance with their terms
                                 (other than in respect of the stay of enforcement arising from
                                 section 362 of the Bankruptcy Code), (ii) no portion of the
                                 Prepetition Secured Obligations is subject to avoidance,
                                 recharacterization, recovery, or subordination pursuant to the
                                 Bankruptcy Code or applicable nonbankruptcy law, and (iii) is
                                 secured by valid, binding, perfected, enforceable, first-priority
                                 liens and security interests over substantially all of the assets of
                                 the Debtors. The Debtors have waived any right to challenge
                                 the Prepetition Credit Facilities and the Prepetition Liens on
                                 any grounds, including those set forth above.
               (x)      Relief from Automatic Stay: The automatic stay provisions of section
                        362 of the Bankruptcy Code are vacated and modified to the extent
                        necessary to permit the DIP Agent to exercise, upon three (3) days’
                        notice to the Debtors and counsel to any Committee formed of the
                        occurrence of an Event of Default, all rights and remedies, including,
                        without limitation, against the DIP Priority Collateral, without the
                        need for obtaining a further order of this Court. Notwithstanding the
                        foregoing, the Debtors may continue to use cash in accordance with
                        the Approved Budget until three (3) days after notice of the occurrence
                        of an Event of Default from the DIP Agent to the Debtors and counsel
                        to any Committee formed.


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         98.       The Debtors submit that this Court should approve their entry into the DIP

Facility and execution of the DIP Documents as an exercise of their sound business judgment.

Prior to the Petition Date, the Debtors and their advisors undertook an analysis of the Debtors’

projected financing needs during the pendency of these Chapter 11 Cases and determined that the

Debtors would require postpetition financing to support their operational and restructuring

activities. Without the financing to be provided by the DIP Facility, the Debtors would almost

immediately lack sufficient liquidity to continue operations, to the detriment of the Debtors, their

employees, and other stakeholders.

         99.       Because the Prepetition Secured Parties have liens on substantially all of the

Debtors’ assets, there is no possibility of the Debtors being able to secure DIP financing on an

unsecured or junior basis. Also, the Debtors do not have sufficient unencumbered assets to serve

as collateral for senior secured DIP financing.

         100.      The Prepetition Secured Parties have consented to the use of Cash Collateral and

the priming liens provided under the DIP Facility in exchange for the various forms of adequate

protection described herein and in the interim DIP Order.

         101.      The DIP Facility is the result of arm’s-length and good faith negotiations between

the Debtors and the DIP Secured Parties. The Debtors submit that the terms and conditions of the

DIP Documents are fair and reasonable, and the proceeds of the DIP Facility will be used only

for purposes that are permissible under the Bankruptcy Code. Further, no consideration is being

provided to any party to the DIP Documents other than as described in the Financing Motion.

         102.      I believe that the relief requested in the Financing Motion is in the best interests

of the Debtors’ estates, their creditors, and all other parties in interest, and will enable the

Debtors to continue to operate their business during the Chapter 11 Cases without disruption.



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         vii.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                   Debtors to (A) Continue Insurance Coverage Entered Into Prepetition and
                   Satisfy Prepetition Obligations Related Thereto, Including Broker Fees
                   and (B) Renew, Supplement, or Purchase Insurance Policies, (C) Honor
                   Prepetition Insurance Premium Financing Agreement, and (D) Renew
                   Insurance Premium Financing Agreement in the Ordinary Course of
                   Business; (II) Authorizing Banks to Honor and Process Check and
                   Electronic Transfer Requests Related Thereto; and (III) Granting Related
                   Relief (the “Insurance Motion”)

         103.      In the Insurance Motion, the Debtors seek entry of the Order (a) authorizing, but

not directing, the Debtors to (i) continue insurance coverage entered into prepetition (the

“Insurance Policies”) and satisfy prepetition obligations related thereto including broker fees (ii)

renew, supplement, or purchase insurance policies in the ordinary course of business, (iii) honor

prepetition insurance premium financing agreement, and (iv) renew insurance premium

financing agreements in the ordinary course of business; (b) authorizing banks and other

financial institutions to honor and process check and electronic transfer requests related to the

foregoing; and (c) granting related relief.

A.       The Debtors’ Insurance Broker

         104.      In connection with the Insurance Policies, the Debtors are party to certain

insurance brokerage agreements (collectively, the “Brokerage Agreements”) under which the

Debtors obtain services from a third-party insurance broker, McGriff, Seibels & Williams, Inc.

(the “Insurance Broker”).

         105.      The Debtors maintain approximately fourteen (14) active Insurance Policies,

which provide coverage for, among other things, property insurance, general liability insurance,

directors and officers liability insurance, workers’ compensation liability insurance,

environmental liability insurance, pollution liability insurance and charterer’s legal liability

insurance, and various other property-related and general liabilities, through their Insurers (as



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defined below). The Debtors are required to pay insurance premiums, taxes, and fees (the

“Premiums”) under the Insurance Policies based on a rate established and billed by each

insurance carrier (the “Insurers”), with approximately $1,489,870.23 of the Premiums financed

through First Insurance Funding, a division of Lake Forest Bank & Trust Company, N.A. (the

“Insurance Lender”). The Premiums total approximately $1,935,918.00 on an annual basis,

excluding financing fees, taxes, surcharges, and commissions earned by the Insurance Broker

and Insurance Lender.

B.       Installment Payment Policies

         106.          In the ordinary course of business, the Debtors pay some Premiums through

monthly payments to the Insurers, Insurance Broker, or Insurance Lender, as applicable. These

installment arrangements benefit the Debtors by spreading out the cost of the Premiums over the

terms of the respective coverage period.

         107.          As of the Petition Date, the Debtors pay the below eight (8) Insurance Policies

through installment payments:

                (i)           Commercial general liability insurance policy issued by Certain
                              Underwriters at Lloyd’s of London, which covers the April 11,
                              2019 to April 11, 2020 policy period, for an annual Premium of
                              $48,312.50;
                (ii)          Excess liability insurance policy issued by Certain Underwriters at
                              Lloyd’s of London, which covers the April 11, 2019 to April 11,
                              2020 policy period, for an annual Premium of $43,000.00;
              (iii)           Excess liability insurance policy issued by Certain Underwriters at
                              Lloyd’s of London, which covers the April 11, 2019 to April 11,
                              2020 policy period, for an annual Premium of $341,125.00;
              (iv)            Excess liability insurance policy issued by Certain Underwriters at
                              Lloyd’s of London, which covers the April 11, 2019 to April 11,
                              2020 policy period, for an annual Premium of $110,437.50;
                (v)           Oil pollution liability insurance policy issued by Certain
                              Underwriters at Lloyd’s of London, which covers the April 11,
                              2019 to April 11, 2020 policy period, for an annual Premium of
                              $70,000.00;

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              (vi)          Marine cargo policy issued by Certain Underwriters at Lloyd’s of
                            London, which covers the April 11, 2019 to April 11, 2020 policy
                            period, for an annual Premium of $39,875.00;
             (vii)          Charterer’s legal liability insurance policy issued by Certain
                            Underwriters at Lloyd’s of London, which covers the April 11,
                            2019 to April 11, 2020 policy period, for an annual Premium of
                            $28,000.00;
            (viii)          Energy package insurance policy issued by Certain Underwriters at
                            Lloyd’s of London, which covers the April 11, 2019 to April 11,
                            2020 policy period, for an annual Premium of $809,545.00; and
              (ix)          Environmental liability insurance policy issued by Aspen Specialty
                            Insurance Company, which covers the April 11, 2019 to April 11,
                            2020 policy period, for an annual Premium of $307,959.00.

         108.        The Debtors were obligated to make a down payment in the amount of

$372,467.56 on account of the Installment Payment Policies, due on April 11, 2019, and were

thereafter obligated to make certain subsequent installment payments in the amount of

$168,500.33, due on a monthly basis, including a payment of $168,500.33 due on August 11,

2019.

         109.        As of the Petition Date, the total prepetition amount outstanding on account of the

Installment Payment Policies is approximately $1,117,402.67.

         110.        If the Debtors were forced to obtain replacement insurance on an expedited basis,

it could come at a tremendous cost to their estates.

         111.        I believe that the relief requested in the Insurance Motion is in the best interests of

the Debtors’ estates, their creditors, and all other parties in interest, and will enable the Debtors

to continue to operate their business during the Chapter 11 Cases without disruption.




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         viii.     Debtors’ Motion for Entry of Interim and Final Orders (A) Prohibiting
                   Utility Companies From Discontinuing, Altering, or Refusing Service, (B)
                   Deeming Utility Companies to Have Adequate Assurance of Payment, and
                   (C) Establishing Procedures for Resolving Requests for Additional
                   Assurance (the “Utilities Motion”)

         112.      In the Utilities Motion, the Debtors seek entry of the Interim Order and Final

Order (a) prohibiting providers of electric, gas, cable, and water services to the Debtors

(collectively, the “Utility Companies”) from discontinuing, altering, or refusing service to the

Debtors, except as set forth therein; (b) determining that the Utility Companies have been

provided with adequate assurance of payment on the basis of the establishment of the Utility

Deposits (as defined below); and (c) approving the Debtors’ proposed procedures for Utility

Companies to request additional assurance of payment.

         113.      To provide adequate assurance of payment for future services to the Utility

Companies, the Debtors propose to segregate an amount equal to approximately 50% of the

Debtors’ estimated monthly utility spend attributable to all Utility Companies (collectively, the

“Adequate Assurance Deposit”).

         114.      In addition, the Debtors seek to establish reasonable procedures by which a Utility

Company may request additional assurance of future payment if such Utility Company believes

that the Adequate Assurance Deposit and the Debtors’ DIP Facility do not provide it with

satisfactory adequate assurances.

         115.      I believe that the relief requested in the Utilities Motion is in the best interests of

the Debtors’ estates, their creditors, and all other parties in interest, and is necessary to continue

the Debtors’ normal business operations and to preserve the Debtors’ ability to restructure its

business in an orderly manner.




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         ix.       Debtors’ Motion for Entry of an Order Authorizing Payment of
                   Prepetition Taxes and Fees (the “Tax Motion”)

         116.      In the Tax Motion, the Debtors seek entry of an order authorizing them to pay, in

their sole discretion, any prepetition tax and fee obligations, including, without limitation,

franchise taxes, property taxes, sales and use taxes, business license fees, annual report taxes,

and other taxes and fees (collectively, the “Taxes and Fees”) owing to those federal, state,

provincial, and local governmental entities in the United States, including as listed on Exhibit B

to the Tax Motion (the “Taxing Authorities”), provided that each payment is made in accordance

with, and subject to, the Debtors’ Financing Motion and applicable DIP Order.

         117.      The Debtors seek authorization to pay 100% of the Debtors’ Unpaid Property

Taxes (as defined below), up to $2,175,500.00. Moreover, although the Debtors believe that as

of the Petition Date, no prepetition obligations related to Taxes and Fees (other than the Unpaid

Property Taxes) are due and owing, in an abundance of caution, the Debtors seek relief to pay

such Taxes and Fees in the event the Debtors become aware, after the Petition Date, of

prepetition Taxes and Fees (other than the Unpaid Property Taxes) that any of the Taxing

Authorities may claim are due and owing. The Debtors propose to limit the aggregate amount of

payments to be made on account of prepetition Taxes and Fees (other than the Unpaid Property

Taxes) under this Motion to $50,000 unless further authorization is obtained from this Court.

         118.      In addition, the Debtors request that, subject to the Cash Management Motion and

related orders, the Court authorize the Debtors’ banks to receive, process, honor, and pay all

prepetition and postpetition checks and fund transfers on account of the Taxes and Fees that had

not been honored and paid as of the Petition Date, and authorize the Debtors’ banks and financial

institutions to rely on the representations of the Debtors as to which checks and fund transfers




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should be honored and paid in respect of Taxes and Fees, provided that sufficient funds are on

deposit in the applicable accounts to cover such payments.

         119.      Prior to the Petition Date, the Debtors incurred obligations to federal, state,

provincial, and local governments in the United States. Although, as of the Petition Date, the

Debtors were substantially current in the payment of assessed and undisputed Taxes and Fees

(other than the Unpaid Property Taxes), certain Taxes and Fees attributable to the prepetition

period may not yet have become due. Certain prepetition Taxes and Fees may not be due until

the applicable monthly, quarterly, or annual payment dates—in some cases immediately and in

others not until next year. In the twelve months prior to the Petition Date, the Debtors incurred

approximately $3,951,177.82 in Taxes and Fees (excluding penalties and interests). Of that

amount, the Debtors have paid approximately $1,991,364.27 in Taxes and Fees (excluding

penalties and interests).

         120.      The Debtors’ state and local property taxes came due prior to the Petition Date,

however the Debtors did not have sufficient resources to pay all state and local property taxes in

full. On June 26, 2019, the Debtors made a payment of $1,962,862.32 on account of local

property taxes assessed by the Kenai Peninsula Borough (the “Kenai Borough Taxes”). By

paying the Kenai Borough Taxes before June 30, 2019, the Debtors were eligible to apply the

full amount of the Kenai Borough Taxes as a credit against the state property taxes assessed by

the State of Alaska. Notwithstanding the reduction in the Debtors’ state property tax liability,

the Debtors were unable to pay the remaining $1,958,940.48 due on account of the Debtors’ state

property tax assessment. Upon the Debtors’ failure to pay its state property taxes on or before

June 30, 2019, the State of Alaska assessed a 10% statutory penalty on the unpaid amount. See

Alaska Stat. § 43.56.160.



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         121.      As of the Petition Date, the total amount of the Debtors unpaid property tax

liability was estimated at $2,172,102.69, including applicable interest, penalties, and fees from

and after June 30, 2019 (collectively, the “Unpaid Property Taxes”), to the State of Alaska on

account of unpaid property taxes for the 2019 fiscal year related to the Debtors’ real property

interests within the state.

         122.      I believe that the prompt payment of the Unpaid Property Taxes is necessary to

preserve the resources of the Debtors’ estates, thereby promoting their prospects for a successful

chapter 11 process. The Debtors will not be eligible to receive payment on account of their 2016

tax credits owed by the State of Alaska unless the Unpaid Property Taxes are paid in full prior to

the redemption date of such tax credits. Id. § 43.55.028(e). Moreover, the Unpaid Property

Taxes continue to accrue interest at a rate of 8.25% per annum, which is approximately $443 per

day. See, e.g., id. §§ 43.05.225, 43.56.160. Thus, further delay in payment of the Unpaid

Property Taxes may jeopardize the Debtors’ tax credit certificates, which are pledged to the

Prepetition Tax Credit Administrative Agent for the benefit of the Prepetition Tax Credit

Secured Parties.

         123.      I also believe that the continued payment of all other Taxes and Fees on their

normal due dates will ultimately preserve the resources of the Debtors’ estates.          If such

obligations are not timely paid, the Debtors will be required to expend time and incur attorneys’

fees and other costs to resolve a multitude of issues related to such obligations, each turning on

the particular terms of each Taxing Authority’s applicable laws, including whether (i) the

obligations are priority, secured, or unsecured in nature, (ii) the obligations are proratable or

fully prepetition or postpetition, and (iii) penalties, interest, attorneys’ fees and costs can




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continue to accrue on a postpetition basis and, if so, whether such penalties, interest, attorneys’

fees, and costs are priority, secured, or unsecured in nature.

         124.      Therefore, I believe that the relief requested in the Tax Motion is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and is necessary

to continue the Debtors’ normal business operations and to preserve the Debtors’ ability to

restructure its business in an orderly manner.

         x.        Debtors’ Motion for Entry of Interim and Final Orders (I) Establishing
                   Notice and Objection Procedures for Transfers of Equity Securities,
                   (II) Establishing a Record Date for Notice and Sell-Down Procedures for
                   Trading in Claims Against the Debtors’ Estates, and (III) Granting
                   Related Relief (the “Equity Trading Motion”)

         125.      In the Equity Trading Motion, the Debtors seek entry of interim and final orders

(i) establishing notice and objection procedures for transfers of the Debtors’ equity securities, (ii)

establishing a record date for notice and sell-down procedures for trading in claims against the

Debtors’ estates, and (iii) granting related relief.

         126.      I understand that the Debtors have historically generated net operating losses

(“NOLs” and together with other tax attributes, the “Tax Attributes”), and such NOLs are

potentially allocable to the Debtors for operations within the State of Alaska.            The relief

requested in the Equity Trading Motion is necessary to protect the potential value of the Debtors’

Tax Attributes.

         127.      The Debtors are treated as disregarded entities for state and federal income tax

purposes, however, the Sponsor has NOLs that are directly attributable to the Debtors’

operations within the state of Alaska as the Debtors have experienced years of losses from the

operation of their business. As a result, the Debtors estimate that there are state and federal

income tax NOLs in excess of $350 million as of the Petition Date that are potentially allocable



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to the Debtors’ operations within the state of Alaska. Such amounts could be even higher when

the Debtors emerge from chapter 11.7 These NOLs could translate into future reductions of the

Debtors’ federal income tax liabilities.           These tax savings could substantially enhance the

Debtors’ cash position for the benefit of parties in interest and contribute to the Debtors’ efforts

in these Chapter 11 Cases.

         128.      I believe that if the Debtors were to undergo an ownership change (as further

described in the Equity Trading Motion) prior to consummation of a chapter 11 plan, such an

ownership change would effectively eliminate the potential ability of the Debtors to use their Tax

Attributes, thereby resulting in a significant loss of value. Furthermore, I am aware that it is

likely that the Debtors will undergo an ownership change for purposes of section 382 of the

Internal Revenue Code of 1986 (as amended, the “IRC”) upon consummation of any chapter 11

plan of reorganization. In such circumstances, the Debtors will seek to avail themselves of the

special relief afforded by section 382 of the IRC for an ownership change under a confirmed

chapter 11 plan.         However, if the relief requested in the Equity Motion is not granted, I

understand that there is a risk that, as a result of pre-consummation trading and acquisitions of

Equity Securities, this special relief would not be available to the Debtors and the use of the

Debtors’ Tax Attributes may be permanently impaired. Simply put, I understand that if pre-plan

trading in Equity Securities results in an ownership change, the more stringent restrictions of

section 382 of the IRC will apply to prospective NOL treatment.

         129.      The Debtors seek limited relief that will enable them to closely monitor certain

transfers of Equity Securities so as to be in a position to act expeditiously to prevent such



7
 The NOLs consist of losses generated in individual tax years, each of which can be “carried forward” for up to 20
subsequent tax years to offset future taxable income, thereby reducing future aggregate tax obligations. See 26
U.S.C. § 172.


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transfers, if necessary, with the purpose of preserving the Tax Attributes. Accordingly, consistent

with the automatic stay in these chapter 11 cases, I understand that the Debtors seek certain

restrictions on trading in Equity Securities to ensure that: (i) an Ownership Change does not

occur prior to the effective date of the chapter 11 plan in these cases; and (ii) with respect to an

Ownership Change occurring under a chapter 11 plan, the Debtors have the opportunity to utilize

the Tax Attributes to offset any income realized through the taxable year that includes the

effective date of the plan and, if any Tax Attributes remain after the application of section 108(b)

of the IRC, the Debtors will avail themselves of the more lenient standard provided by section

382 of the IRC with respect to chapter 11 plan ownership changes.

         130.      I further believe that the Debtors’ ability to meet the requirements of the

applicable tax laws to protect their Tax Attributes may be seriously jeopardized unless

procedures are established to ensure that certain trading in Equity Securities is either precluded

or closely monitored and made subject to Court approval. I believe that the proposed Procedures

are necessary to protect the value of the Tax Attributes, which may be valuable assets of the

Debtors’ estates, while providing appropriate latitude for trading in Equity Securities below

specified levels.

         131.      I submit that the relief requested in the Equity Trading Motion is necessary to

avoid immediate and irreparable harm to the Debtors. Accordingly, on behalf of the Debtors, I

respectfully request that the relief sought in the in the Equity Trading Motion be approved.

         xi.       Debtors’ Motion for Entry of an Order Extending Time to File Schedules
                   of Assets and Liabilities, Schedules of Executory Contracts and Unexpired
                   Leases, and Statements of Financial Affairs (the “Schedules and SOFA
                   Motion”)

         132.      In the Extension Motion, the Debtors seek entry of a final order extending the

time period to file their Schedules through and including September 25, 2019 without prejudice


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to the Debtors’ right to apply to this Court, upon appropriate notice, for further extension(s) of

time to file the Schedules or to seek a waiver of the requirement for filing certain Schedules.

         133.      Although the Schedules were not filed with the Debtors’ petitions, annexed to the

petitions are consolidated lists containing the names and addresses of the Debtors’ thirty (30)

largest unsecured creditors. In addition, the Debtors are in the process of preparing a creditor

matrix containing all of the names and addresses of the Debtors’ known creditors and other

parties in interest in these Chapter 11 Cases, as required by Bankruptcy Rule 1007(a).

         134.      The Debtors have been unable to complete their Schedules at this early stage in

these Chapter 11 Cases because of: (a) the level of sophistication of their capital structures and

their financial affairs; (b) the limited staffing available to perform the required internal review of

the Debtors’ books and records and accounts and affairs; (c) the diversion of resources necessary

to attend to numerous issues in connection with the prosecution of these Chapter 11 Cases; and

(d) the accelerated pace at which the Debtors’ time-sensitive bankruptcy efforts have proceeded,

including drafting first-day pleadings.

         135.      At bottom, the scope and complexity of the Debtors’ business, coupled with the

limited time and resources available to the Debtors to marshal the information necessary to

complete the Schedules, make it unlikely for the Debtors to complete the Schedules in the

statutorily mandated timeframe. Because these factors will prevent the Debtors from assembling

the information necessary to complete and file their Schedules prior to the current deadline,

sufficient cause exists to grant the extension.

         136.      I believe that the relief requested in the Schedules and SOFA Motion is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and is necessary




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to continue the Debtors’ normal business operations and to preserve the Debtors’ ability to

restructure its business in an orderly manner.


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         I declare under penalty of perjury, pursuant to section 1746 of title 28 of the United

States Code, that the foregoing is true and correct to the best of my knowledge, information, and

belief. Accordingly, I respectfully request that the Court grant all relief requested in the First

Day Pleadings and such other and further relief as may be just.

Dated: August 9, 2019

                                      By:           /s/ Scott M. Pinsonnault
                                             Scott M. Pinsonnault
                                             Interim Chief Operating Officer
                                             Furie Operating Alaska, LLC




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                                         EXHIBIT A

                                 Organizational Structure Chart




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                                                    Brutus AG
                                                   (“Sponsor”)
                                              (HRB 740207 - Stuttgart)
                                               A German Corporation
                                               Non-Debtor Affiliate




     Corsair Oil & Gas                         Cornucopia Oil & Gas
           LLC                                    Company, LLC
         (“Corsair”)                              (“Cornucopia”)
    (FEIN: XX-XXXXXXX)                          (FEIN: XX-XXXXXXX)
    A Delaware Limited                          A Delaware Limited
    Liability Company                           Liability Company
           Debtor                                      Debtor




                                                 Furie Operating
                                                  Alaska, LLC
                                                     (“FOA”)
                                                (FEIN: XX-XXXXXXX)
                                                A Delaware Limited
                                                Liability Company
                                                      Debtor




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